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                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE MIDDLE DISTRICT OF ALABAMA
                                  NORTHERN DIVISION

  ADIN GESS, et al.,                              )
                                                  )
           Plaintiffs,                            )
                                                  )
  v.                                              )           Case No. 2:24-cv-134-ECM-CWB
                                                  )
  BAM TRADING SERVICES, INC.,                     )
  et al.,                                         )
                                                  )
           Defendants.                            )

                                             ORDER

       Upon review and consideration, it is ORDERED that the parties’ proposed timeline for

submitting motions to dismiss and associated briefing (see Doc. 87) is GRANTED. Accordingly,

it is further ORDERED as follows:

       •    Defendants shall have until June 20, 2025 to file any motions to dismiss directed
            toward the Amended Complaint;

       •    Plaintiffs shall have 60 days from the filing of each such motion to file a
            response in opposition; and

       •    Defendants shall have 30 days from the filing of each such opposition to submit
            a reply.

       DONE this the 19th day of May 2025.


                                                  ____________________________________
                                                  CHAD W. BRYAN
                                                  UNITED STATES MAGISTRATE JUDGE
